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                         UNITED STATES DISTRICT COURT
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                      SOUTHERN DISTRICT OF CALIFORNIA
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11                                             Case No.: 3:15-cv-02311-MMA-NLS
     EMILY C. SULLIVAN,
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                        Plaintiff,
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                                               ORDER GRANTING JOINT
14   vs.                                       MOTION FOR DISMISSAL;
15   LOAN ME, a corporation;                   [Doc. No. 13]
16
     and DOES 1 to 10, inclusive,              VACATING SHOW CAUSE
                        Defendant(s).          HEARING
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19         Having reviewed the parties’ joint motion to dismiss and good cause
20   appearing, the Court GRANTS the joint motion and DISMISSES all claims of
21   Plaintiff Emily C. Sullivan against Defendant Loan Me, with prejudice. Plaintiff
22   and Defendant will each bear their own costs and attorneys’ fees. The Court
23   VACATES the Show Cause Hearing previously scheduled for December 19,
24
     2016. The Clerk of Court is instructed to close the case.
25
           IT IS SO ORDERED.
26
     DATE: November 16, 2016                __________________________________
27                                          HON. MICHAEL M. ANELLO
28                                          United States District Judge
                                                                                   15cv2311
